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                                   6                                  UNITED STATES DISTRICT COURT

                                   7                                 NORTHERN DISTRICT OF CALIFORNIA

                                   8
                                        STEVEN HELDT, BRIAN BUCHANAN,
                                   9    and CHRISTOPHER SLAIGHT,                           Case No. 15-cv-1696-YGR

                                  10                   Plaintiffs,
                                                                                           ORDER ON DEFENDANT’S MOTION TO
                                  11            v.                                         DISMISS FIRST AMENDED COMPLAINT AND
                                                                                           MOTION TO STRIKE FIRST AMENDED
                                  12    TATA CONSULTANCY SERVICES, LTD.,                   COMPLAINT
Northern District of California
 United States District Court




                                  13                   Defendant.                          Re: Dkt. Nos. 47, 50

                                  14
                                              Plaintiffs Steven Heldt, Brian Buchanan, and Christopher Slaight (collectively,
                                  15
                                       “plaintiffs”) bring this putative class action against defendant Tata Consultancy Services, Ltd.
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                                       (“defendant” or “TCS”) for discrimination in employment practices. Plaintiffs bring causes of
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                                       action in the first amended complaint (Dkt. No. 39, “FAC”) for disparate treatment under Title VII
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                                       of the Civil Rights Act of 1964, 42 U.S.C. section 2000e, et seq., and the Civil Rights Act of 1866,
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                                       42 U.S.C. section 1981.
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                                              Pending before the Court are defendant’s motion to dismiss the FAC in part pursuant to
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                                       Federal Rules of Civil Procedure 12(b)(6) and 12(b)(1) (Dkt. No. 50, “MTD”) and defendant’s
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                                       motion to strike allegations in the FAC pursuant to Federal Rule of Civil Procedure 12(f) (Dkt.
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                                       No. 47, “MTS”). Having carefully considered the papers submitted and the pleadings in this
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                                       action, a hearing on the motions held September 15, 2015, and for the reasons set forth below, the
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                                       Court hereby DENIES defendant’s motions.
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                                              Although the Court denies defendant’s motions, for the reasons stated on the record at the
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                                       September 15, 2015 hearing, the Court has concerns about remaining ambiguities in the FAC.
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                                   1   Given plaintiffs’ counsel’s inability to articulate persons included in the proposed class,

                                   2   compounded with conflicting and ambiguously defined terms in the FAC, the Court ORDERS

                                   3   plaintiffs to file an amended complaint. Plaintiffs shall file an amended complaint, and defendant

                                   4   shall file a responsive pleading thereto, as described in Section V, infra.

                                   5          I.      FACTUAL AND PROCEDURAL BACKGROUND

                                   6          TCS is a foreign company headquartered in Mumbai, India, with 19 offices and

                                   7   approximately 14,000 employees in the United States. (FAC ¶ 13.) TCS provides information

                                   8   technology (“IT”) consulting and outsourcing services to companies worldwide, including in the

                                   9   United States. (Id. ¶ 20.) Plaintiffs Buchanan, Heldt, and Slaight allege that TCS discriminated

                                  10   against them in their hiring, employment, and/or termination practices based on race and national

                                  11   origin. (Id.¶ 1.) Specifically, plaintiffs claim that TCS has a pattern and practice of intentional

                                  12   discrimination in its United States workforce whereby they treat persons of South Asian descent,
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                                  13   South Asian race, and South Asian national origin,1 more favorably than those who are not South

                                  14   Asian, including plaintiffs. (See id.) Plaintiffs allege that, as a result of TCS’s discrimination, its

                                  15   United States workforce consists of approximately 95% persons of South Asian descent, race,

                                  16   and/or national origin, compared to 1-2% of the United States population. (Id. ¶ 1.)

                                  17          With respect to plaintiff Buchanan, Southern California Edison (“SCE”) employed him as

                                  18   an IT professional from 1986 until February 2015. SCE informed plaintiff Buchanan in July 2014

                                  19   that he and approximately 400 coworkers would be terminated and replaced by TCS employees.

                                  20   (Id. ¶ 35.) Plaintiff Buchanan agreed to remain in his position with SCE until early 2015 to train

                                  21   the incoming TCS employees. (Id.) Plaintiff Buchanan was discharged in February 2015 when

                                  22   TCS assumed primary responsibility for SCE’s IT needs, including plaintiff’s former position.

                                  23   (Id. ¶ 42.) In the interim, plaintiff Buchanan attended a job fair organized by SCE for its

                                  24   employees awaiting termination, at which he met with a TCS hiring manager to express his

                                  25   interest in a position with TCS at SCE or otherwise. (Id. ¶ 39.) TCS made no further hiring

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                                               Plaintiffs define these terms, collectively, as including “individuals of Indian,
                                  28   Bangladeshi, and Nepali ancestry, ethnicity, and/or birth.” (FAC ¶ 1 at n. 1.)

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                                   1   contact with plaintiff Buchanan despite his extensive qualifications and relevant experience. (Id.)

                                   2   TCS hired only five of the twenty-eight members of plaintiff Buchanan’s team at SCE, three of

                                   3   whom were South Asian. (Id. ¶ 40.) Plaintiff alleges that TCS replaced him and the remaining

                                   4   members of his team with South Asian persons who had less experience and were not as qualified

                                   5   as plaintiff. (Id. ¶ 40-41.)

                                   6           With respect to plaintiff Heldt, TCS hired him in June 2012 to service its client Kaiser

                                   7   Permanente as IT Project Manager for an IT governance risk and compliance system named

                                   8   Archer. (Id. ¶ 44, n. 5.) Within one week, TCS removed plaintiff Heldt from this position and

                                   9   assigned him to the generic position of IT Project Manager with the same client Kaiser

                                  10   Permanente. (Id. ¶ 45.) Plaintiff alleges that this role involved less important responsibilities than

                                  11   his original position and was not commensurate with his advanced IT experience and skills. (Id.)

                                  12   Beginning in October 2012, TCS did not assign plaintiff Heldt any client work, but continued to
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                                  13   employ him. (Id. ¶¶ 46-50.) TCS “benched” plaintiff Heldt in this manner twice more throughout

                                  14   his employment, and during each period, plaintiff Heldt continued to apply for various positions

                                  15   within TCS. (Id. ¶¶ 52-60.) Plaintiff Heldt alleges that none of the subsequent positions to which

                                  16   he was assigned by TCS were commensurate with his advanced skills and experience, and that he

                                  17   was denied substantive work at several points. (Id.) Ultimately, TCS terminated plaintiff Heldt in

                                  18   March 2014, citing plaintiff’s time on the “bench,” and his unwillingness to move out of state,

                                  19   which plaintiff Heldt disputes. (Id. ¶ 60.) Plaintiff Heldt alleges that TCS knowingly and

                                  20   intentionally favored persons of South Asian race and national origin, and disfavored those who

                                  21   were not, in its employment decisions with respect to himself throughout his employment, and all

                                  22   others similarly situated. (Id. ¶¶ 79, 84.)

                                  23           With respect to plaintiff Slaight, TCS hired him as a software engineer in April 2012 for an

                                  24   assignment at TCS’s client AXA beginning in October 2012. (Id. ¶¶ 62-64.) Plaintiff alleges that

                                  25   TCS did not provide him any on-site training at AXA and failed to assign him any substantive

                                  26   work for six months, while his South Asian colleagues regularly received substantive work. (Id. ¶

                                  27   64.) Similar to plaintiff Heldt, TCS placed plaintiff Slaight on the “bench” beginning in March

                                  28   2013. (Id. ¶ 65.) Plaintiff Slaight actively pursued new placements with TCS until he was
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                                   1   terminated less than a month later, in April 2013. (Id. ¶¶ 65-66.) Plaintiff Slaight alleges that

                                   2   TCS knowingly and intentionally favored persons of South Asian race and national origin, and

                                   3   disfavored those who were not, in its employment decisions with respect to himself throughout his

                                   4   employment, and all others similarly situated. (Id. ¶ 84.)

                                   5          Plaintiffs bring two causes of action in the FAC: (1) disparate treatment in violation of

                                   6   Title VII of the Civil Rights Act of 1964, 42 U.S.C. section 2000e, et seq., (“Title VII”) as to

                                   7   plaintiff Heldt and all others similarly situated; and (2) disparate treatment in violation of the Civil

                                   8   Rights Act of 1866, 42 U.S.C. section 1981 (“Section 1981”) as to plaintiffs Buchanan, Heldt, and

                                   9   Slaight and all others similarly situated. Plaintiffs allege that TCS achieves its discriminatory goal

                                  10   of maintaining a workforce of primarily persons of South Asian descent, race, and/or national

                                  11   origin by employing at least three methods of discrimination: (a) using the visa process to sponsor

                                  12   a high number of South Asian workers with H-1B, L-1, and B-1 visas; (b) hiring a
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                                  13   disproportionate number of South Asian workers who reside in the United States with a

                                  14   discriminatory preference; and (c) discriminating against its non-South Asian employees in

                                  15   employment decisions, including in placement, promotion, demotion, and termination decisions.

                                  16   (Id. ¶¶ 26-30.)

                                  17          TCS now moves to dismiss the FAC under Rule 12(b)(6) on the ground that its use of the

                                  18   visa programs authorized by the laws of the United States cannot be a basis for relief under Title

                                  19   VII or Section 1981 because the lawful issuance of visas establishes as a matter of law that TCS

                                  20   recruits foreign workers in a non-discriminatory manner. Next, TCS asserts that the Court should

                                  21   dismiss the FAC under Rule 12(b)(1) in part for two reasons. First, TCS contends that the Court

                                  22   does not have subject matter jurisdiction over plaintiffs’ claims insofar as plaintiffs allege that

                                  23   TCS misused the visa programs because plaintiffs have not exhausted administrative remedies

                                  24   with the Departments of Justice and Labor. Second, TCS argues that Count I should be dismissed

                                  25   to the extent it is based on discrimination in hiring practices for the reason that plaintiff Heldt –

                                  26   the only plaintiff named in Count I – does not have standing to bring a claim for failure to hire.

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                                   1          Finally, TCS also moves to strike two categories2 of allegations in the FAC as impertinent

                                   2   and immaterial: (i) statistical data comparing the demographics of TCS workers to the

                                   3   demographics of the entire United States; and (ii) the class period for plaintiff Heldt’s Title VII

                                   4   claim. The Court addresses each motion in turn.

                                   5          II.     MOTION TO DISMISS UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

                                   6                  A. Legal Standard

                                   7          A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of the claims alleged in

                                   8   the complaint. Ileto v. Glock, Inc., 349 F.3d 1191, 1199-1200 (9th Cir. 2003). “Dismissal can be

                                   9   based on the lack of a cognizable legal theory or the absence of sufficient facts alleged under a

                                  10   cognizable legal theory.” Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990).

                                  11   All allegations of material fact are taken as true and construed in the light most favorable to the

                                  12   plaintiff. Johnson v. Lucent Techs., Inc., 653 F.3d 1000, 1010 (9th Cir. 2011). To survive a
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                                  13   motion to dismiss, “a complaint must contain sufficient factual matter, accepted as true, to ‘state a

                                  14   claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

                                  15   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007)). For purposes of evaluating a motion to

                                  16   dismiss, the Court "must presume all factual allegations of the complaint to be true and draw all

                                  17   reasonable inferences in favor of the nonmoving party." Usher v. City of Los Angeles, 828 F.2d

                                  18   556, 561 (9th Cir. 1987). Any existing ambiguities must be resolved in favor of the pleadings.

                                  19   Walling v. Beverly Enters., 476 F.2d 393, 396 (9th Cir. 1973).

                                  20                  B. Analysis

                                  21          TCS argues that plaintiffs fail to state claims under both Title VII and Section 1981 to the

                                  22   extent plaintiffs base those claims on TCS’s alleged use of the visa programs to recruit foreign

                                  23   workers to achieve its goal of discrimination against persons who are not South Asian. TCS

                                  24   contends that this basis for plaintiffs’ claims is “self-defeating” because TCS’s use of the visa

                                  25   program establishes that its recruitment is non-discriminatory. (MTD at 6:6-7.) TCS relies on H-

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                                                TCS also moves, in the alternative, to strike allegations relevant to the claims it
                                  28   separately moves against in its motion to dismiss. (MTS at 1.)

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                                   1   1B visa program regulations to conclude that it does not discriminate because for a non-immigrant

                                   2   worker to obtain a visa, “a showing must be made that the potential visa holder will not displace

                                   3   an American worker.” (MTD at 5:16-18.) This suggestion is tenuous at best.3 For purposes of a

                                   4   motion to dismiss, the complaint cabins the allegations. TCS’s attempt to recast the FAC as a bald

                                   5   attack on its business model is the result of a skewed reading of the FAC. TCS’s argument that its

                                   6   use of the visa programs must be non-discriminatory by definition and plaintiffs can never show

                                   7   that the named plaintiffs (or any class members) were discriminated against as a result of TCS’s

                                   8   use of the visa programs is also misplaced. See Koehler, et al. v. Infosys Technologies Ltd., Inc.,

                                   9   et al., — F.Supp. 3d — , 2015 WL 2168886, at *7 (E.D. Wisc. May 8, 2015) (rejecting the

                                  10   defendants’ argument that plaintiffs cannot invoke Title VII or Section 1981 to challenge their visa

                                  11   practices). For purposes of the motion, the FAC has sufficient allegations of discriminatory

                                  12   conduct to put TCS on notice of the basis for the claim.
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                                  13          Next, TCS argues that the attestations made for the H-1B visas preclude plaintiffs from

                                  14   ever making the required showing that the named plaintiffs (or putative class members) are

                                  15   similarly situated to the visa holders it allegedly favors in hiring and employment practices. See

                                  16   Chuang v. University of Cal. Davis Bd. of Trustees, 225 F.3d 1115, 1123 (9th Cir. 2000) (a prima

                                  17   facie case of discrimination under McDonnell Douglas includes a showing that “similarly situated

                                  18   individuals outside of [the plaintiff’s] protected class were treated more favorably.”) In other

                                  19   words, TCS argues that the visa application process prevents visa holders from being similarly

                                  20   situated to plaintiffs, i.e. comparators, as required to make a prima facie showing of discrimination

                                  21   under Title VII and Section 1981. See id.

                                  22          In opposition, plaintiffs argue that TCS’s argument is inapposite because plaintiffs are not

                                  23   pursuing its claims under the McDonnell Douglas framework under which comparators would be

                                  24   necessary. See McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973) (establishing the

                                  25   framework under which a plaintiff must initially establish a prima facie case of employment

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                                  27             The argument is also premature and not appropriately addressed on a Rule 12 motion.
                                       For the reasons discussed, infra, the Court finds the FAC contains sufficient allegations of
                                  28   discrimination.

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                                   1   discrimination). The Court agrees. Supreme Court and Ninth Circuit precedent indisputably hold

                                   2   that the McDonnell Douglas framework is not the exclusive avenue to establish a prima facie case

                                   3   of employment discrimination. Gross statistical disparities4 or direct evidence of discrimination

                                   4   can each alone be sufficient to make a prima facie showing. See Piva v. Xerox Corp., 654 F.2d

                                   5   591, 596 (9th Cir. 1981) (citing Hazelwood School District v. United States, 433 U.S. 299, 307-08

                                   6   (1977)) (“Gross statistical disparities between the composition of an employer’s work force and

                                   7   the composition of an employer's work force and the composition of the general population in a

                                   8   proper case may constitute, by themselves, prima facie proof of a pattern or practice of

                                   9   discrimination.”); Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002) (“the McDonnell

                                  10   Douglas framework does not apply where, for example, a plaintiff is able to produce direct

                                  11   evidence of discrimination”). Therefore, plaintiffs need not allege that comparators exist to state

                                  12   claims under Title VII or Section 1981.
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                                  13          Accordingly, TCS’s motion to dismiss the FAC in part under Rule 12(b)(6) is DENIED.

                                  14          III.    MOTION TO DISMISS UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1)

                                  15                  A. Legal Standard

                                  16          A motion to dismiss pursuant to Rule 12(b)(1) is a challenge to the court's subject matter

                                  17   jurisdiction. See Fed. R. Civ. P. 12(b)(1). “Federal courts are courts of limited jurisdiction,” and

                                  18   it is “presumed that a cause lies outside this limited jurisdiction.” Kokkonen v. Guardian Life Ins.

                                  19   of Am., 511 U.S. 375, 377 (1994). The party invoking the jurisdiction of the federal court bears

                                  20   the burden of establishing that the court has the requisite subject matter jurisdiction to grant the

                                  21   relief requested. Id. A challenge pursuant to Rule 12(b)(1) may be facial or factual. See White v.

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                                                TCS concedes in reply that gross statistical disparities may be sufficient to make a prima
                                  24   facie showing of discrimination in certain cases, but argues that this is not the proper case.
                                       Notably, TCS cites only cases decided on summary judgment, not a Rule 12 motion, to support its
                                  25   argument. (MTD Reply at 7-8.) Indeed, this argument concerns a burden of proof – not a
                                       pleading standard – and is therefore premature. See Swierkiewicz v. Sorema N.A., 534 U.S. 506,
                                  26   511 (2002) (“an employment discrimination plaintiff need not plead a prima facie case of
                                       discrimination” to survive a Rule 12 motion); Maduka v. Sunrise Hospital, et al., 375 F.3d 909,
                                  27   912-13 (2004) (same); see also Starr v. Baca, 652 F.3d 1201, 1213-16 (9th Cir. 2011)
                                       (Swierkiewicz is still good law after the more demanding standards announced in Twombly and
                                  28   Iqbal.)

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                                   1   Lee, 227 F.3d 1214, 1242 (9th Cir.2000). In a facial attack, the jurisdictional challenge is

                                   2   confined to the allegations pled in the complaint. See Wolfe v. Strankman, 392 F.3d 358, 362 (9th

                                   3   Cir. 2004). The challenger asserts that the allegations in the complaint are insufficient “on their

                                   4   face” to invoke federal jurisdiction. See Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th

                                   5   Cir.2004). To resolve this challenge, the court assumes that the allegations in the complaint are

                                   6   true and draws all reasonable inferences in favor of the party opposing dismissal. See Wolfe, 392

                                   7   F.3d at 362.

                                   8                  B. Analysis

                                   9          TCS moves to dismiss in part under Rule 12(b)(1) on two grounds: (i) the Court does not

                                  10   have subject matter jurisdiction over plaintiffs’ claims related to TCS’s use of the visa programs;

                                  11   and (ii) the claim under Title VII (Count I) should be dismissed to the extent it is based on

                                  12   discrimination in hiring practices because plaintiff Heldt does not have standing to bring a claim
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                                  13   for failure to hire. The Court considers TCS’s arguments in turn.

                                  14                          1. The Administrative Remedies TCS Cites Are Inapplicable

                                  15          TCS moves to dismiss plaintiffs’ claims to the extent they allege that TCS has misused the

                                  16   visa program, arguing that the Court lacks subject matter jurisdiction to hear these claims.

                                  17   Specifically, TCS contends that plaintiffs must first exhaust administrative remedies with the

                                  18   Departments of Justice and Labor in order to have this Court adjudicate claims of misuse of the

                                  19   visa program. See Biran v. JP Morgan Chase & Co., 2002 WL 31040345 (S.D. N.Y. Sept. 12,

                                  20   2012) (holding plaintiff required to exhaust administrative remedies before filing suit for

                                  21   employer’s overuse of visa program). In opposition, plaintiffs argue that TCS misconstrued their

                                  22   allegations, and that they do not allege that TCS has misused the visa program.5

                                  23          In light of plaintiffs’ affirmative denial that TCS misused the visa program, TCS

                                  24   acknowledges that their argument may be moot, but then summarily states that “jurisdiction over

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                                  26            While the FAC does not directly allege that TCS misuses the visa process, it does contain
                                       an allegation that TCS is “currently being investigated by the federal government for visa abuse.”
                                  27   (FAC ¶ 26.) Plaintiffs now disavow any attempt to base their claims on misuse of the visa
                                       program. To clarify their position, plaintiffs shall make clear in their amended complaint that they
                                  28   do not allege any misuse or abuse of the visa program. See Section V, infra.

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                                   1   the proper use of the visa program would also be lacking.” (Dkt. No. 65, “MTD Reply” at 9, n. 8.)

                                   2   TCS provides no authority for the proposition that plaintiffs’ allegations regarding TCS’s use of

                                   3   the visa process to achieve its discriminatory goals effectively deprives this Court of subject

                                   4   matter jurisdiction over plaintiffs’ Title VII and Section 1981 claims otherwise properly before the

                                   5   Court. In fact, TCS only cites cases addressing subject matter jurisdiction where plaintiffs’ claims

                                   6   are based on the misuse of the visa process. See, e.g., Biran, 2002 WL 31040345 (finding the

                                   7   court lacked subject matter jurisdiction where plaintiff alleged violations of the Immigration and

                                   8   Nationality Act). Plaintiffs’ motion to dismiss for the visa allegations for lack of subject matter

                                   9   jurisdiction is DENIED.

                                  10                          2. Plaintiff Heldt Has Article III Standing To Bring Title VII Claim

                                  11          TCS contends that, because TCS hired plaintiff Heldt, he does not have standing to bring a

                                  12   failure to hire claim. Plaintiff Heldt is the only named plaintiff asserting a claim under Title VII,
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                                  13   and so TCS argues that the Title VII claim must be dismissed to the extent plaintiff Heldt

                                  14   challenges TCS’s allegedly discriminatory hiring practices. TCS is correct that a named plaintiff’s

                                  15   individual standing is a threshold issue. See Lierboe v. State Farm Mut. Auto. Ins. Co., 350 F.3d

                                  16   1018, 1022 (9th Cir. 2003). In that regard, it is undisputed that plaintiff Heldt has standing to

                                  17   pursue claims under Title VII for adverse employment actions, including his termination. (Dkt.

                                  18   No. 59, “MTD Oppo.” at 16-17; MTD Reply at 12:4-5.) Plaintiff Heldt alleges injury in fact with

                                  19   respect to several adverse employment actions and that the injury is causally connected to TCS.

                                  20   Nothing more is required to maintain his cause of action for discrimination against TCS under

                                  21   Title VII at this juncture. See In re VeriSign, Inc., 2005 WL 88969, at *5 (N.D. Cal. Jan. 13,

                                  22   2005) (“In the class action context, Article III standing simply requires that the class

                                  23   representatives satisfy standing individually.); Waters v. Heublein, Inc., 547 F.2d 466, 469-70 (9th

                                  24   Cir. 1976) (holding that the plaintiff had standing to bring a claim under Title VII to redress racial

                                  25   and ethnic discrimination, and declining to address whether the plaintiff was an adequate class

                                  26   representative under Rule 23).

                                  27          TCS’s argument conflates the standing requirements for plaintiff Heldt to bring a claim

                                  28   under Title VII with his ability to represent a class of persons not hired by TCS. Once standing is
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                                   1   established, “[w]hether the class representatives may then represent the claims of the class is a

                                   2   separate inquiry.” In re Verisign, 2005 WL 88969 at *5. TCS puts its cart before the horse in an

                                   3   attempt to have the Court disqualify plaintiff Heldt as a class representative for certain claims at

                                   4   the pleading stage. The Court declines. Regardless of whether plaintiff Heldt may be a suitable

                                   5   representative of a class of persons who were not hired by TCS, the parties agree he has standing

                                   6   to bring a Title VII claim. This alone is dispositive of TCS’s motion under Rule 12(b)(1). TCS’s

                                   7   motion to dismiss on this ground is DENIED.

                                   8          IV.     MOTION TO STRIKE

                                   9                  A. Legal Standard

                                  10          Motions to strike are not favored and “should not be granted unless it is clear that the

                                  11   matter to be stricken could have no possible bearing on the subject matter of the litigation.”

                                  12   Colaprico v. Sun Microsystem, Inc., 758 F.Supp. 1335, 1339 (N.D.Cal. 1991). When a court
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                                  13   considers a motion to strike, it “must view the pleading in a light most favorable to the pleading

                                  14   party.” In re 2TheMart.com, Inc. Sec Lit., 114 F Supp.2d 955, 965 (C.D.Cal. 2000). A court may

                                  15   only strike portions of a complaint in four limited circumstances, namely where it finds the

                                  16   pleading to contain “redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P.

                                  17   12(f). A matter is “immaterial” where it is “has no bearing on the controversy before the Court.”

                                  18   In re 2TheMart.com, 114 F.Supp.2d at 965. Allegations have been found “impertinent” where

                                  19   they are “not responsive or irrelevant to the issues that arise in the action and which are

                                  20   inadmissible as evidence.” Id. A court must deny the motion to strike if there is any doubt

                                  21   whether the allegations in the pleadings might be relevant in the action. Id. Where the moving

                                  22   party cannot demonstrate the material will prejudice a party, “courts frequently deny motions to

                                  23   strike even though the offending matter literally was within one or more of the categories set forth

                                  24   in Rule 12(f).” New York City Employees’ Retirement System v. Barry, 667 F.Supp.2d 1121, 1128

                                  25   (N.D. Cal. 2009) (internal quotations omitted).

                                  26                  B. Analysis

                                  27          TCS requests that the Court strike portions of the FAC related to statistical data comparing

                                  28   the demographics of TCS workers to the demographics of the entire United States as well as the
                                                                                         10
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                                   1   class period for the Title VII claim.6 Even a cursory review of TCS’s arguments, however, shows

                                   2   they are nothing more than substantive attacks on plaintiffs’ allegations not appropriate for

                                   3   resolution on a motion to strike under Rule 12(f). Indeed, TCS does not assert anywhere in their

                                   4   papers that the class period allegations are “redundant, immaterial, impertinent, or scandalous” as

                                   5   required by Rule 12(f), and their motion on that ground is therefore DENIED.7

                                   6          With respect to the statistical data, TCS contends that it is immaterial and impertinent8

                                   7   because it “has no relationship to the claims pled.” (MTS at 3:8-9.) However, it is quite obvious,

                                   8   as discussed above, that such statistical data may be relevant to describe, at a minimum, the

                                   9   defendant’s practices. Whether it ultimately may “constitute, by [itself], prima facie proof of a

                                  10   pattern and practice of discrimination” is not before the Court. See Piva, 654 F.2d at 596. Rule

                                  11   12(f) is not the proper vehicle to rid a complaint of allegations the defendant admits plaintiffs may

                                  12   “utilize…at some point in this case.” (MTS Reply at 4:4-5.) TCS’s motion on this ground is
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                                  13   likewise DENIED.

                                  14          V.      CONCLUSION

                                  15          Defendant’s motion to dismiss the FAC in part and defendant’s motion to strike portions of

                                  16   the FAC are DENIED.

                                  17          Plaintiffs are directed to file an amended complaint no later than September 28, 2015,

                                  18   which must clarify the following:

                                  19
                                              6
                                  20             Additionally, TCS moves to strike the allegations relating the claims it separately moved
                                       to dismiss, incorporating by reference its arguments in the motion to dismiss, “to the extent such
                                  21   arguments are more appropriately viewed under Rule 12(f).” (MTS at 1:15-21.) In reply, TCS
                                       recognizes plaintiffs’ position that the incorporated arguments are inappropriate for resolution on a
                                  22   motion to strike. (Dkt. No. 67, “MTS Reply” at n. 1.) For the reasons set forth in Sections II and
                                       III, supra, these arguments fail under Rule 12(b). The Court declines to address them under the
                                  23   more stringent framework of Rule 12(f).
                                              7
                                  24             The Court acknowledges that TCS places its discussion of the class period allegations
                                       under a heading in its motion to strike, and reply in support, entitled “Plaintiffs’ Irrelevant And/or
                                  25   Impertinent Allegations.” (MTS at 3; MTS Reply at 2.) This summary statement, without more,
                                       is insufficient to carry TCS’s burden under Rule 12(f).
                                  26          8
                                               In reply, TCS further contends that these allegations are “irrelevant.” However,
                                  27   relevance alone is not the appropriate inquiry. See Fed. R. Civ. P. 12(f). Relevance is only
                                       germane to the extent that the material is also inadmissible. See In re 2TheMart.com, 114
                                  28   F.Supp.2d at 965.

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                                   1                 The scope of persons to be included in the proposed class and subclasses;

                                   2                 Whether the causes of action allege discrimination on the basis of race, national

                                   3                  origin, or both; and

                                   4                 Plaintiffs’ disavowal that they allege any misuse or abuse of the visa programs.

                                   5   Plaintiffs are cautioned not to conflate their definitions with respect to ethnicity, race, and/or

                                   6   national origin.

                                   7          Defendant shall file a responsive pleading no more than fourteen (14) days after plaintiffs

                                   8   file their amended complaint.

                                   9          This order terminates Docket Nos. 47, 50.

                                  10          IT IS SO ORDERED.

                                  11   Dated: September 18, 2015

                                  12                                                    ______________________________________
Northern District of California
 United States District Court




                                                                                              YVONNE GONZALEZ ROGERS
                                  13                                                     UNITED STATES DISTRICT COURT JUDGE
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